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                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12
                                                                       *E-FILED - 3/16/06*
13
     UNITED STATES OF AMERICA,                    )       No. CR 06-00054-RMW
14                                                )
             Plaintiff,                           )
15                                                )       STIPULATION REGARDING
        v.                                        )       EXCLUDABLE TIME AND
16                                                )       ORDER
     DAVID SILOAC,                                )
17     a/k/a discovery, a/k/a intangible,         )
       a/k/a 189420, a/k/a bling, a/k/a sidar,    )
18                                                )
             Defendant.                           )
19                                                )
20
        It is hereby stipulated and agreed between defendant David Siloac, and his counsel James
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     McNair Thompson Attorney for Defendant Siloac and the United States as follows:
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        This matter was set for a status conference on March 13, 2006 at 9:00 a.m. In this copyright
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     infringement case, the defense needs more time to prepare, review discovery previously
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     provided, including a substantial amount of digital evidence, and research legal and sentencing
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     issues. The parties have been discussing plea and sentencing issues. The defendant was only
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     recently arraigned on this case on February 22, 2006. It is reasonable for the defense to have
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     additional time to review the discovery, which includes some digital evidence.
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 06-00054-RM W
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1       The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
2    March 13, 2006, until April 3, 2006, because the parties believe that the ends of justice served by
3    the granting of such a continuance outweigh the best interests of the public and the defendant in a
4    speedy trial, particularly since reasonable time is needed for the defense to prepare for pretrial
5    and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The parties further
6    stipulate that time may be excluded for reasonable time for defense
7    preparation, since the failure to exclude time would deny counsel for the defendant reasonable
8    time necessary for effective preparation, taking into account the exercise of due diligence,
9    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv).
10      So stipulated.
11   Dated: March 8, 2006                                  KEVIN V. RYAN
                                                           United States Attorney
12
                                                                  /S/
13                                                         ________________________
                                                           MARK L. KROTOSKI
14                                                         Assistant United States Attorney
15      So stipulated.
16   Dated: March 8, 2006
                                                                  /S/
17                                                         ________________________
                                                           JAMES McNAIR THOMPSON
18                                                         Attorney for Defendant Siloac
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for March 13, 2006 at 9:00 a.m.
4    for defendant Siloac shall be continued to April 3, 2006 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between March 13, 2006, until April 3, 2006
6    shall be excluded from the computation period within which the trial must commence, for the
7    reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12                16 2006
     DATED: March __,
13                                                          /s/ Ronald M. Whyte
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
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